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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

HARRIS`SILVER and ENTITY X, LLC
245 6th Avenue Suite #1
venice, CA 90291

Plaintiffs,
V.

I-IAROLD CHASE LENFEST
1100 Ginkgo La.ne
Gladwyne, PA 19035

KEVIN MURPHY
322 West 57th Street, Apt. 48H
New York, NY 10019

M'ELVIN YELLIN
1 136 Fifth Avenue
New York, NY 10028

HIGH STREET CAPITAL PARTNERS
MANAGEB[ENT, LLC

366 Madison Avenue, 11th Floor

NeW York, NY 10017

HIGH STREET CAPITAL PAR'I`NERS, LLC
366 Madison Avenue, 1 lth F 100r
New York, NY 10017

PRIME WELLNESS OF
PENNSYLVANIA, LLC
210 Wyoming Avenue
Scranton, PA 18503

HCL MM INVESTMENTS PA, LLC
565 E. Swedesf`ord Road, Suite 303
Wayne, PA 19087

Defendants.

 

No.

VERIFIED COMPLAINT

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INTRODUCTION

1. This case arises out of the Defendants’ fraudulent scheme to dupe Plaintiff Harris
Silver into helping them obtain a cannabis license from Pennsylvania and then cheat Mr. Silver
out of the compensation they had agreed to pay him.

2. The High Street Capital Defendants purport to be successful investors in the fast-
growing field of licensed cannabis cultivation and dispensing and are seeking to cash in via an
initial public offering of securities in the cannabis-related businesses they own.

3. But in fact, the High Street Capital Defendants have suffered a string of failures in
their efforts to actually obtain the cannabis licenses they sought For examplc, the High Street
Capital Defendants applied for but failed to obtain cultivation licenses in Massachusetts,
Connecticut, Illinois, New York, and Maryland.

4. Following their repeated losses, the High Street Capital Defendants realized that
they lacked the necessary expertise to obtain cannabis licenses on their own.

5. Accordingly, the High Street Capital Defendants sought help from Harris Silver,
Who has extensive experience With cannabis licensing issues and Was instrumental in obtaining
cannabis licenses in Connecticut and Illinois, i.e., some of the same licenses that the High Street
Capital Defendants were unable to win on their oWn.

6. The High Street Capital Defendants used Mr. Silver’s services in two Ways: (i)
first, they relied on and invoked his expertise to convince Defendant I-I. Chase Lenfcst to enter
into a joint venture With them to pursue cannabis licenses in Pennsylvania; and (ii) second, the
High Street Capital Defendants and Mr. Lenfest then relied on Mr. Silver to quarterback their

efforts to actually obtain those licenses.

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7. In return for Mr. Silver’s extensive Work, Defendants agreed to compensate Mr.
Silver as follows: (i) $180,000 to prepare their application, and (ii) in the event they Were
awarded a cultivation and processing license, a $150,000 cash bonus and a 4% non»dilutable
equity stake in any licensee, and (iii) an ongoing, salaried management role with the licensee as
Chief Marketing {)fficer.

8. In addition, Defendants promised Mr. Silver that, if they were awarded a license,
Mr. Silver would be the project manager during the buildout of their cannabis cultivation facility.
Mr. Silver would also retain an ownership interest in all cannabis products he developed so that
he Would benefit economically when those products were used in other states and also be
involved in bringing them to market.

9. After months of intensive effort, Mr. Silver prepared an exemplary application for
the Defendants, and they were ultimately awarded a cannabis cultivation and processing license.

10. At that point, Mr. Silver should have received his cash bonus and equity stake and
began his role as Chief Marketing Officer and project manager for the licensee. But despite
numerous requests, Mr. Silver has received neither his cash bonus nor his equity stake, and
Defendants have refused to give him the salaried position at the licensee that he Was promised

11. Defendants’ refusal to abide by the agreement with Mr. Silvcr amounts to a
breach of contract by all of them, for which they are all jointly and severally liable.

12. lt is also amounts to fraud by the Defendants, because it is clear from their words
and conduct that they never intended to abide by the promises they made to Mr. Silver. lnstead,
they only used him to obtain a license without ever having any intention of properly

compensating him for his efforts

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13. Accordingly, Mr. Silver has no choice but to bring this lawsuit to ensure that he
receives the compensation to which he is entitled.

THE PAR'I`IES

H_arris Silver and Entitv X. LLC

14. Plaintiff Harris Silver is a U.S. citizen who permanently resides in Los Angeles,
California. Accordingly, he is a citizen of the State of Califomia.

15. Plaintiff Entity X, LLC is a single-member limited liability company whose sole
member is Harris Silver. Accordingly, Entity X, LLC is a citizen of the State of California.

The High Street Capital Defendants

16. Upon information and belief, Defendant Kevin Murphy is the Managing Partner
of Defendant High Street Capital Partners Managernent, LLC and a member of Defendant High
Street Capital Partners, LLC. Accordingly, any conduct by Mr. Murphy in the course of his
employment is imputed to Defendant High Street Capital Partners Manageinent, LLC as a matter
of law.

17. Upon information and belief, Mr. Murphy is a U.S. citizen who permanently
resides in the State of New York. Accordingly, l\/lr. Murphy is a citizen of the State of New
York.

18. Upon information and belief, Defendant Melvin Yellin is employed by and is a
member of Defendant High Street Capital Partners Management, LLC and the Managing
Director of Defendant High Street Capital Partners, LLC. Accordingly, any conduct by Mr.
Yellin in the course of his employment is imputed to Defendants High Street Capital Partners

Management, LLC and High Street Capital Partners, LLC as a matter of law.

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19. Upon information and belief, l\/lr. Yellin is a U.S. citizen who permanently resides
in the State of New York. Accordingly, Mr. Yellin is a citizen of the State of New York.

20. Upon information and belief, Defendant High Street Capital Partners
Management, LLC is a Delaware limited liability company that is headquartered in New York,
New Yorl< and is the Managing Member of Defendant High Street Capital Partners, LLC.
Accordingly, any conduct by Defendant High Street Capital Partners Management, LLC or any
of its managers, members or agents acting with the scope of its authority as Managing Member
of Defendant High Street Capital Partners, LLC is imputed to Defendants High Street Capital
Partners, LLC as a matter of law. l

21. Upon information and belief, all of the members of Defendant High Street Capital
Partners i\/lanagement, LLC are U.S. citizens who permanently reside in the State of New York.
Accordingly, Defendant High Street Capital Partners Management, LLC is a citizen of the State
of New York.

22. Upon information and belief, Defendant High Street Capital Partners, LLC is a
Delaware limited liability company that is headquartered in New York, New York and is a
member of and the Manager of Defendant Prime Wellness of Pennsylvania, LLC.

23. Upon information and belief, all of the members of Defendant High Street Capital
Partners, LLC are citizens of the State of New York. Accordingly, Defendant High Street
Capital Partners, LLC is a citizen of the State of New York.

24. This Complaint refers to Defendants Kevin Murphy, Melvin Yellin, High Street
Capital Partners Management, LLC, and High Street Capital Partners, LLC collectively as the
“High Street Capital Defendants.” This Complaint also refers to High Street Capital Partners

Management, LLC as “High Street Capital.”

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25. This Court may exercise personal jurisdiction over the High Street Capital
Defendants because this case arises out of conduct by the High Street Capital Defendants that
occurred within Pennsylvania and conduct that was specifically directed to Pennsylvania

Lenfest Parties

26. Upon information and belief, Defendant Harold Chase Lenfest is a U.S. citizen
who resides in Montgomery County, Pennsylvania Accordingly, Mr. Lenfest is a citizen of the
State of Pennsylvania and is subject to general personal jurisdiction in this state.

27. Upon information and belief, Defendant HCL MM Investments PA, LLC is a
limited liability company that is headquartered in Wayne, Pennsylvania Accordingly, HCL MM
Investments PA, LLC is subject to general personal jurisdiction in this state.

28. Upon information and belief, all of the members of HCL MM Investments PA,
LLC are citizens of the State of Pennsylvania Accordingly, HCL MM Investrnents PA, LLC is
a citizen of the State of Pennsylvania

29. This Complaint refers to Defendants Harold Chase Lenfest and HCL Ml\/l
Investments PA, LLC collectively as the “Lenfest Parties.”

Prime Wellness of Pennsvlvariig

30. Defendant Prime Wellness of Pennsylvania, LLC (“Prime Wellness”) is
headquartered in and has its principal place of business in Berks County, Pennsylvania
Accordingly, Prime Wellness is subject to general personal jurisdiction in Pennsylvania

31. Prime Wellness holds a cannabis license from the Cornrnonwealth of

Pennsylvania

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32. The members of Prime Wellness are Defendant High Street Capital Partners, LLC
and HCL MM Investments PA, LLC. Accordingly, Prime Wellness LLC is a citizen of the
States of New Yorl< and Pennsylvania

33. Prime Wellness is a manager-managed LLC in which the managers, rather than
members, have operational control of the business.

34. Upon information and belief, the current managers of Prime Wellness are High
Street Capital Partners, LLC and HCL MM Investments PA, LLC.

SUBJECT MATTER JURISDICTION AND VENUE

35. Pursuant to 28 U.S.C. § 1331, this Court has federal question jurisdiction over the
federal securities law claim in this lawsuit (Count V) and supplemental jurisdiction under 28
U.S.C. § 1367(a) over all of the state law claims because they form part of the same case or
controversy as the federal securities claim.

36. Pursuant to 28 U.S.C. § 1332, this Court also has diversity jurisdiction over this
lawsuit because there is complete diversity and the amount in controversy is in excess of
$75,000.

37. Plaintiffs are citizens of California, and the Defendants are citizens of
Pennsylvania and New York. Accordingly, there is complete diversity.

38. Defendants have wrongly refused to pay Plaintiffs, among other things, a
$150,000 cash bonus and a 4% equity stake in the cannabis licensee. The 4% equity stake is
worth considerably more than $l million. Accordingly, the amount in controversy is far in
excess of $75,000.

39. Venue lies in this District because all of the Defendants are inhabitants of this

District or transact business here, see 15 U.S.C. § 78aa, at least one actor transaction

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constituting the securities fraud violation occurred in this District, see ia’. , and a substantial part
of the events or omissions giving rise to the claims occurred in this District, see 28 U.S.C.
§ 139l(b)(2).
ME§

I. The Cannabis Iudustry

40. Over the last several years, many states have legalized the cultivation, processing
and dispensing of cannabis products in certain circumstances

41. Typically, an entity must apply for and obtain one of a very limited number of
licenses from a state in order to lawfully cultivate, process or dispense cannabis products in that
state.

42. Because states typically award very few licenses, they are viewed as highly
valuable, and the process to win one is highly competitive

43. To put together a strong application, an applicant must compile a detailed and
comprehensive plan that covers numerous topics, including facility design, security, compliance
With state regulations and the applicant`s ability to fund the startup of the business and properly
manage its operations

II. Harris Silver Helps Obtain Canoabis Licenses That High Street Capital Fails To
Win

44. High Street Capital is a New York investment firm founded, led and controlled by
Defendants Kevin Murphy and Melvin Yellin.

45. In its marketing materials, High Street Capital claims to be a “leader within the
emerging medical cannabis industry” that “possesses a broad understanding of the medical
cannabis space including knowledge and experience operating businesses within strict regulatory

environments.”

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46. But in factJ time and time again, High Street Capital has failed to obtain licenses
in several states because it actually lacks the expertise necessary to successfully prepare and
submit winning applications

47. ln addition, High Street Capital lacks the expertise to successfully operate
cannabis businesses in heavily regulated environments

48. For example, in 2013, High Street Capital sought a cannabis cultivation license in
Connecticut but failed to obtain one.

49. Similarly, in 2014, High Street Capital failed to Win a cannabis cultivation license
in lllinois

50. Meanwhile, I-Iarris Silver spearheaded the applications that actually won the
cultivation licenses in Connecticut and Illinois that High Street Capital coveted but failed to Win.

51. Mr. Silver has extensive experience and connections in the cannabis industry.

52. For example, Mr. Silver has a Master of Arts in Architecture and has been at the
forefront of developing energy efficient building systems for the cannabis industry. Indeed,
teams that he has led have spent hundreds of hours in design research that have led to state-of-
the-art and industry-leading energy-efficient designs

53. In addition, Mr. Silver has extensive experience in advertising and branding and
has led the development of advanced medical cannabis products, with an emphasis on
formulation consistency and dose-controlled pharmaceutical packaging

54. Mr. Silver has also been a leader in developing clear and concise labeling and
child-safe packaging across the entire family of cannabis products

55. Mr. Silver has used his extensive experience, knowledge and skills to lead

successful cannabis licensing applications in several states

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56. F or instance, the successful application that he quarterbacked in Connecticut was
the highest scoring application in the state.

57. Similarly, the application Mr. Silver led and submitted in lllinois was the highest
scoring application in its district

III. High Street Capital Knows It Cannot Beat Mr. Silver, So It Purports To Invite Him
To Join As A Partner

58. After being defeated by Mr. Silver’s applications in Connecticut and Illinois anda
failing to win in all of their other attempts to be awarded cultivation licenses, High Street Capital
realized it needed his expertise and would rather have him working on their side.

59. ln addition, High Street Capital was hoping to conduct an initial public offering
(“IPO”) of equity in its cannabis business To bolster the value of its cannabis business, High
Street Capital wanted to show investors that it could win the types of competitive license
application processes that Mr. Silver had shown he could win.

60. Accordingly, in the summer of 2016, High Street Capital and Mr. Silver began
discussing Whether they should work together on future applications

61. By early fall 2016, the talks had progressed to the point that High Street Capital
and Mr. Silver discussed the terms on which he would join High Street Capital as a partner and
lead all of its future license applications
IV. High Street Capital Uses Mr. Silver To Obtain A Partnership With Chase Lenfest

62. While those discussions were ongoing, Kevin Murphy and Melvin Yellin of High
Street Capital asked Mr. Silver to accompany High Street Capital representatives to a meeting in
Philadelphia at the downtown apartment of Defendant H. Chase Lenfest

63. The purpose of the meeting was to convince Mr. Lenfest to join High Street

Capital’s application for a Pennsylvania cannabis license,

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64. High Street Capital sought Mr. Lenfest’s involvement because (i) the Lenfest
name carries great weight in Pennsylvania; (ii) they could use Mr. Lenfest’s numerous charitable
activities to bolster their application; and (iii) Mr. Lenfest’s great wealth and connections could
provide the capital necessary to fund the startup of the business in the event they were awarded a
license.

65. Although Mr. Silver did not have a final agreement to join High Street Capital, he
agreed to go to the meeting with Mr. Lenfest on the understanding that his deal would be
finalized in short order.

66. Mr. Silver spent several days preparing for the meeting, including preparing a
binder of materials to be shared with Mr. Lenfest. Those materials included, among other things,
samples of cannabis products, information about the cannabis facility that Mr. Silver had
designed and built for his lllinois application and a detailed diagram of all of the steps necessary
to prepare a high-quality application

67. No one from High Street Capital provided any input into those materials or even
bothered to review them prior to the meeting

68. ln addition to Mr. Silver, Kevin Murphy and Chris Tolford attended the meeting
for High Street Capital. Mr. Lenfest also personally attended the meeting, along with his
advisors Christopher Noe and Thomas Pasch.

69. After introductory remarks by Mr. Murphy, he turned the meeting over to Mr.
Silver, who presented the detailed materials that he had prepared.

70. Mr. Silver’s presentation immediately sparked the interest of Mr. Lenfest and his

associates

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71. For example, Mr. Noe explained that Mr. Lenfest and his team had already met
with many others who wanted to partner with Mr. Lenfest on a cannabis application, but Mr.
Silver’s presentation was the first time that anyone had provided a roadmap for how to actually
prepare a successful application

72. In addition, Mr. Silver was the first person who had shown that he had the
necessary real world experience to actually win a competitive application process

73. Shortly after the meeting, Mr. Noe confirmed in writing how impressed he was
with Mr. Silver’s presentation and advised that Mr. Lenfest was leaning towards partnering with
High Street Capital.

74. Shortly thereafter, Mr. Lenfest and High Street Capital did in fact agree to jointly
pursue cannabis application licenses in Pennsylvania

V. High Street Capital Repudiates Its Promise Of A Partnership With Mr. Silver, And
Agrees To Compensate Him For Work 011 The Pennsylvania License Application

75. After it appeared that Mr. Silver had successfully brought Mr. Lenfest on board,
High Street Capital promptly backed away from its promise to bring Mr. Silver on as a full
partner.

76. lnstead, High Street Capital now proposed that any agreement with Mr. Silver be
limited to the Pennsylvania application process According to High Street Capital, if` that
application process worked out, then it would revisit a broader partnership relationship with Mr.
Silver.

77. Mr. Silver was greatly disappointed by High Street Capital’s about-face, but

continued to believe that High Street Capital would act in good faith toward him.

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78. Accordingly, Mr. Silver agreed to the more limited relationship that Mr. Murphy
requested But High Street Capital continued to drag its feet on actually putting any agreement
with Mr. Silver in writing

79. To move the ball forward, Mr. Silver traveled at his own expense to a conference
in Las Vegas to meet with Mr. Murphy in person. At that conference, Mr. Murphy assured l\/i_r.
Silver that Mr. Lenfest had agreed to work with High Street Capital and that they and Mr. Silver
would all work together.

80. Following the meeting in Las Vegas, Mr. Silver had several telephone
conversations with Mr. Yellin about the compensation he would receive for working on the
Pennsylvania application.

81. During those calls, Messrs. Silver and Yellin agreed that, in return for preparing
the Pennsylvania application, Mr. Silver and his wholly-owned LLC, Plaintiff Entity X, LLC,
would receive, among other things 5180,000 upfrontJ and, if Defendants were awarded a
cultivation and processing license, an additional $150,000 in cash, a 4% non-dilutable equity
interest in the licensee, and a salaried position as the Chief Marketing Officer of the licensee.

82. At Mr. Yellin’s request, Mr. Silver prepared a term sheet reflecting the terms to
which they had orally agreed. Mr. Silver created the document on Google Docs and shared it
with Messrs. Yellin and Murphy.

83. After receiving the document, l\/lr. Yellin assured Mr. Silver that a written
contract, which Mr. Yellin would prepare, would be signed by January 15, 2017.

84. Mr. Silver, Mr. Lenfest and the High Street Capital Defendants understood that
the proposed licensee on the applications that Mr. Silver would prepare would be Prime

Wellness

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85. But at that time, Prime Welhiess’s LLC agreement had not been drafted, and it
had no bank accounts assets or employees of its own. Thus, Prime Wellness itself effectively
did not exist and could not itself pay Mr. Silver.

86. Thus, in addition to Prime Wellness itself being obligated to pay Mr. Silver, High
Street Capital and Mr. Lenfest were also responsible for paying him because they, or their
agents were the ones who made the promises to Mr. Silver and entered into the agreements with
him, they were the ones who would benefit personally from the work he did, and they were the
promotors of Prime Wellness

87. Thus throughout the various negotiations discussed above and below, Messrs.
Murphy and Yellin acted as the agents of High Street Capital, Prime Wellness and Mr. Lenfest.

Vl. Mr. Silver Receives An Initial Payment And Immediately Begins Working For High
Street Capital And Mr. Lenfest

88. Consistent with the agreement Mr. Yellin made with Mr. Silver during their
telephone conversations High Street Capital wired Mr. Silver an initial payment of $90,000 on
December l6 and he immediately began to work for High Street Capital and Mr. Lenfest

89. Notably, however, High Street Capital and Mr. Lenfest did not ask Mr. Silver to
begin working on the Pennsylvania application lnstead, Mr. Silver was asked to immediately
prepare a research proposal that Mr. Lenfest wanted to submit to Drexel University.

90. Unbeknownst to Mr. Silver, Mr. Lenfest had wanted to seek a cannabis-related
research grant from Drexel University, but had missed an important deadline for submitting the
application for it.

91. Drexel agreed to extend the deadline for Mr. Lenfest, who shared the opportunity

with his new partners at High Street Capital.

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92. Mr. Silver promptly set to work on the Drexel proposal and worked very closely
with Mr. Lenfest’s associates including Mr. Noe, to complete it Specifically, Mr. Silver
devoted all of his time and worked around the clock to complete the application, which was
submitted on time.

93. Mr. Silver only agreed to do any work on the Drexel application -- and later to
prepare the Pennsylvania cannabis application -- because of the promises Mr. Yellin made during
his phone calls with him in December of 2016 and Kevin Murphy’s personal assurances that he
would receive the compensation that had been promised to him.

VII. Mr. Silver Takes Charge Of' The Pennsylvania Application

94. After he completed the Drexel research proposal, Mr. Silver turned his attention
to the Pennsylvania cannabis application

95. ln January 2017, at High Street Capital’s request Mr. Silver temporarily moved
to New York to work out of High Street Capital’s offices there, so that he would be close to the
High Street Capital team that was to support his efforts to prepare the application

96. Upon Mr. Silver’s arrival in New York, it immediately became clear to him that
High Street Capital’s Pennsylvania application process was in disarray. In particular, High
Street Capital’s personnel were focused on the upcoming IPO and on its other cannabis
businesses which were performing poorly. Also, the resources and the team that Mr. Silver was
told he would have to help him with the application were non-existent

97. ln addition, it was apparent that High Street Capital simply did not know how to
put together a successful application, because even the most basic decisions had not been made.

98. For example, given High Street Capital’s purported experience in the cannabis

industry, Mr. Silver expected that the CEO, COO, CFO, Cultivators and Extractors for the

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proposed licensee would already be in place and contributing to the application But in fact,
there was no team.

99. Similarly, an essential aspect of the application process required a prospective
licensee to show control over appropriate real estate for its cultivation facility. But, once again,
High Street had not lined up any real estate and had done no analyses on where the business
should be located.

100. High Street Capital has also failed to line up appropriate consulting experts
Many parts of the application require consulting with subject-matter experts in fields like
horticulture. Given High Street Capital’s purported experience in the industry, Mr. Silver was
told that High Street Capital had in-house experience on these matters and an available network
of potential experts

101. But High Street Capital in fact had no internal expertise nor any external network
that Mr. Silver could tap into.

102. Indeed, High Street Capital ultimately failed to locate or to provide any subject
matter experts that could actually be used to support the application lnstead, the few experts

that High Street Capital recommended missed multiple deadlines and ultimately never
contributed one word to the application

103. In short, High Street Capital had done essentially nothing to get the application
process started and lacked the knowledge or expertise to do so. Accordi_ngly, Mr. Silver had to
take control of the entire process immediately and work day and night to produce a high quality
application

104. Over the next several months Mr. Silver devoted all of this time and effort to

getting the application ready. ln addition to overseeing the entire process he:

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0 led the design of the energy-efficient building systems to grow and process cannabis,
including hiring, briefing and working with the architects;

¢ designed the dispensaries to sell the cannabis products;

0 led the branding efforts, including hiring, briefing and working with an outside branding
agency;

_ 0 modified an existing trademarked brand of cannabis products that he had previously
developed to be used in PA;

¢ located appropriate real estate for a cannabis cultivation facility and negotiated lease
options and sales contracts related to that real estate;

0 identified and recruited the members of the executive team of the prospective licensee;
¢ located all of the subject matter experts necessary to complete the application; and

o assumed personal responsibility for every word and image in the application and
personally wrote the application almost in its entirety.

VII. While Mr. Silver Devoted His Efforts To the Application, Defendants Dragged
Their Feet On Signing His Contract

105. While Mr. Silver worked around the clock in January, February and into March to
prepare the Pennsylvania application he remained Without a signed, written agreement
memorializing the oral agreement he reached with Mr. Yellin in December.

106. In his regular emails to, among others, Messrs. Murphy, Yellin, Lenfest and Noe
updating them on the status of the application Mr. Silver reminded them that his agreement
should be memorialized in a formal, signed document.

107. Defendants, however, continually dragged their feet on signing a contract with
Mr. Silver, assuring him that they were simply too busy at the moment but would get to it. These
false promises and reassurances were specifically designed to induce Mr. Silver to continue
working on the application even though Defendants had no intention of paying him what they

had promised.

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108. On March ll, Mr. Silver met with Mr. Murphy to discuss Mr. Silver’s
relationship with High Street Capital after the Pennsylvania application was completed

109. At that meeting, Mr. Murphy assured Mr. Silver that (i) Mr. Silver would remain
the point person for High Street Capital’s applications in other states, (ii) Mr. Silver would retain
an interest in and leadership role with respect to any branded products that were launched in
other states, (iii) any tax consequences arising from Mr. Silver’s equity interest not being listed
as founder’s shares on the Pennsylvania applications would be borne by High Street Capital, Mr.
Lenfest and/or Prime Wellness, (iv) the work Mr. Silver created would be used only in
connection with the Defendants’ activities in Pennsylvania, and would not be used in any other
states without Mr. Silver’s consent; (v) Lucho Marcial and his firm would be the Primary Design
Architects in the event Prime Wellness was awarded a license; and (vi) Mr. Silver would be put
on High Street Capital’s health insurance plan

llO. A few days after his meeting with Mr. Murphy, Mr. Silver met with Mr. Yellin,
who confirmed Mr. Murphy’s representations and reassured Mr. Silver that his deal would
Shortly be memorialized in a signed contract.

lll. Consistent with his and Mr. Yellin’s representations to Mr. Silver, on March 16,
2017, Mr. Murphy sent Mr. Silver a written offer of employment to be the Chief Marketing
Officer of Prime Wellness in the event it was awarded a cannabis license,

112. In addition Mr. Silver’s name and his employment offer letter was submitted to
the Commonwealth of Pennsylvania in connection with the completed applications, along with
an organizational chart, that reflected Mr. Silver’s role in the licensee.

l 13. The representations by Messrs. Murphy and Yellin, including their offer to have

Mr. Silver become the licensee’s Chief Marketing Officer, were false and fraudulent, because

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they had no intention of abiding by them. Instead, Messrs. Murphy and Yellin lied to Mr. Silver
to induce him to continue working on the Pennsylvania application

ll4. In reliance on the representations and Messrs. Murphy and Yellin Mr. Silver
continued to work on the Pennsylvania application and, on March 18, updated the Google Doc to
reflect the promises that Messrs. Murphy and Yellin had made to him. Because they had shared
access to the Google Doc, Messrs'. Murphy and Yellin were able to track all the changes that
were made in the Google Doc with the link that they were sent.

115. Neither Mr. Murphy nor Mr. Yellin responded that the changes did not accurately
reflect their conversations with Mr. Silver nor did either of them give any indication that they
would not sign the revised document

116. The Pennsylvania application was due on March 20. Thus, Mr. Silver Was
working day and night to prepare it.

l 17. On March 20, Messrs. Murphy and Yellin finally presented him With a written
contract Mr. Murphy stated that the document contained all the provisions the parties had
previously agreed to and flipped to the signature page and asked Mr. Silver to sign it
immediately

118. Mr. Silver expected Messrs. Murphy and Yellin to present him with the Google
Doc that they had regularly shared among themselves But when he looked at the front page he
noticed that it was not the Google Doc that he had previously exchanged with Messrs. Murphy
and Yellin. lnstead, they presented him with a new document that he had never previously seen

119. Due to the upcoming application deadline, Mr. Silver had not left the office in
three days and had no time to, and was in no position to, review and revise a new document that

he had never previously seen

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l2(). Accordingly, Mr. Silver declined to sign the new document and asked Messrs.
Murphy and Yellin to simply sign the document that they previously received and accepted
without comment on March 18.

l21. Despite their previous oral agreement to the terms reflected in the March 18
document, Messrs. Murphy and Yellin refused to sign it. Instead, they demanded that the parties
return to the agreement they had reached back in December.

122. Reluctantly, Mr. Silver agreed to sign that version of the document to ensure that
he had something signed in writing from Defendants

123. Mr. Murphy then grabbed a document from his desk and asserted that it was the
December version of the agreement

124. Mr. Murphy’s statement was a lie. Although the document he presented was
formatted`to look like the parties’ Google Doc, it was actually a document that Mr. Silver had
never previously seen much less reviewed

125. At that point, Mr. Silver refused to sign Mr. Murphy’s document and explained
that Google Docs automatically saves all revisions Accordingly, Mr. Silver opened his laptop,
went to the Google Doc revision history, and showed Mr. Murphy that revision history.

126. Mr. Murphy then identified the date of the version that he wanted Mr. Silver
printed that version and the parties signed it.

127. Messrs. Murphy and Yellin also left the final drafting and execution of an LLC
agreement for Prime Wellness to the last minute. This document was essential because it was a

required part of the application

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128. Ultimately, Mr. Lenfest agreed to sign a copy of an LLC agreement for Prime
Wellness, but only on the condition that it later be revised to reflect the actual terms of the
agreement between Mr. Lenfest and High Street Capital.

129. Mr. Silver completed and submitted the Pennsylvania applications later that
evening.

VIII. As Soon As Mr. Silver Completes His Work, Defendants Renege 011 Their Promises
To Pay Him

130. After he completed and submitted the Pennsylvania application Mr. Silver
returned to Califomia to have shoulder surgery.

131. As Mr. Silver was recovering from the surgery, Defendants asked him to prepare
materials related to the Drexel research application which had advanced to the final round.

132. During conversations about the additional work, Mr. Lenfest’s associate,
Christopher Noe, acknowledged that he and Mr. Lenfest knew that Mr. Silver had been promised
a 4% equity interest in Prime Wellness in the event it was awarded a license.

133. Mr. Silver prepared the materials and sent them to Defendants

134. Based on his conversations with Defendants, Mr. Silver understood that he would
be the project leader for Prime Wellness in the event it was awarded a cannabis license.
Accordingly, after preparing the Drexel materials, he turned to Prime Wellness and began
outlining a strategy so that the business would be prepared to succeed in the event it was
awarded a license.

l35. In mid-April, l\/i_r. Silver e-mailed Defendants with a list of action items to be

completed during the quiet period in advance of the announcement of the license winners.

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136. Mr. Yellin responded by instructing Mr. Silver to do nothing until Messrs. Yellin
and Murphy contacted him later that week. Messrs. Yellin and Murphy, however, never
contacted Mr. Silver.

137. Around the same time, Mr. Silver learned that, in violation of its promise that Mr.
Silver would lead its licensing efforts in Ohio, High Street Capital had hired another individual,
Patrick Rutan to lead their application efforts in Ohio.

138. Mr. Rutan proceeded to reach out to all of Mr. Silver’s contacts in an attempt to
get them to work directly with High Street Capital, rather than with Mr. Silver.

139. ln short, as soon as the Defendants got what they wanted from Mr. Silver with
respect to the Pennsylvania license application and the Drexel application they cut off all contact
with him, in direct violation of the promises they had made to him.

140. On June 27, Prime Wellness was awarded a Pennsylvania cannabis cultivation
license.

141. Following Prime Wellness’s victory, Mr. Silver contacted Defendants regarding
the additional compensation he was due and about his promised role as Chief Marketing Officer
ofPrime Wellness.

142. Defendants, through their attorney, informed Mr. Silver that they were not going
to perform on any of the promises they had made to him and that he would not be Prime
Wellness Chief Marketing Officer.

143. ln light of Defendants’ lengthy foot-dragging on signing a contract with Mr.
Silver, their last-minute effort to dupe him into signing a written document that he had never

previously seen and their conduct immediately after l\/lr. Silver completed his work for them, it

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is clear that they never had any intention of abiding by any of the promises they made to him.
Those promises were false and fraudulent when made.

144. Upon information and belief, Defendants High Street Capital Partners, LLC and
HCL MM investments PA, LLC currently own all of the equity interests in Prime Wellness,
including the 4% equity interest that rightfully belongs to Mr. Silver.

coUNT 1
BREACH OF CON'I`RACT
(Against Defendants H. Chase Lenfest, High Street Capital and Prime Wellness)

145. Plaintiffs incorporate by reference all preceding paragraphs

146. Plaintiffs entered into an agreement with Defendants H. Chase Lenfest and High
Street Capital to prepare Pennsylvania cannabis applications for them and in their capacity as
promoters of Defendant Prime Wellness

147. Defendant Prime Wellness assumed that contract and received the benefits of it
by, among other things, being awarded a cannabis cultivation license based on the applications
prepared by Plaintiffs

148. Plaintiffs fulfilled their obligations under the contract by preparing and submitting
cannabis applications for Defendants

149. Plaintiffs’ contingent compensation under the contract became due when
Defendant Prime Wellness was awarded a cannabis cultivation license

150. Defendants H. Chase Lenfest, High Street Capital and Prime Wellness breached
their contract with Plaintiffs, and thereby injured them, by failing to pay Plaintiffs their
contingent compensation including, without limitation the $150,000 cash bonus, 4% non-
dilutable equity stake in the licensee and by failing to give Mr. Silver the salaried position of

Chief Marketing Officer of the licensee.

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WHEREFOR_E, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. pre- and post-judgment interest; and
c. any further relief that the Court’s deems just and proper.
COUNT II
PROMISSORY ESTOPPEL
(Against H. Chase Lenfest, High Street Capital and Prime Wellness)
151. Plaintiffs incorporate by reference all preceding paragraphs
152. This Count is pleaded in the alternative in the event it is determined that there was
no enforceable contract between Plaintiffs and Defendants
153. Defendants Kevin Murphy and Melvin Yellin made a series of promises to
Plaintiffs about the contingent consideration they would receive in the event the applications
they prepared resulted in Defendants being awarded a cannabis license.
l54. When making the promisesJ Messrs. Murphy and Yellin were acting in their
capacity as agents for Defendants H. Chase Lenfest, High Street Capital and Prime Wellness
15 5. Defendants reasonably expected those promises to induce Plaintiffs to act.
15 6. Plaintiffs did in fact rely on those promises when they performed the work
necessary to prepare the applications
157. Injustice can be avoided only by enforcing the promises
WHEREFOR_E, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. pre- and post-judgment interest; and

c. any further relief that the Court’s deems just and proper

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win
UNJUST ENRICHMENT/QUANTUM MERUIT
(Against H. Chase Lenfest, High Street Capital and Prime Wellness)
158. Plaintiffs incorporate by reference all preceding paragraphs
159. This Count is pleaded in the alternative in the event it is determined that there was
no enforceable contract between Plaintiffs and Defendants
l60. Plaintiffs conferred a benefit on Defendants H. Chase Lenfest, High Street Capital
and Prime Wellness by preparing cannabis license applications on their behalf that ultimately
resulted in Prime Wellness obtaining a cannabis license.
l6l. Defendants H. Chase Lenfest, High Street Capital and Prime Wellness
appreciated this benefit because they knew of the work performed by Plaintiffs
162. lt would be inequitable to permit Defendants I-I. Chase Lenfest, High Street
Capital and Prime Wellness to retain all of the benefits conferred upon them without properly
compensating Plaintiffs for their efforts
WHEREFORE, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. pre- and post-judgment interest; and
c. any further relief that the Court’s deems just and proper.
COUNT IV
COMM()N LAW FRAUD
(Against Defendants H. Chase Lenfest, Kevin Murphy, Melvin Yellin,
High Street Capital and Prime Wellness)
163. Plaintiffs incorporate by reference all preceding paragraphs

l64. Defendants Kevin Murphy and Melvin Yellin made material factual

representations to Plaintiffs by repeatedly promising to pay them contingent compensation and to

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make Mr. Silver the licensee’s Chief Marketing Officer in the event Defendants were awarded a
cannabis license, even though Defendants had no intention of` ever keeping those promises
165. Defendants Kevin Murphy and Melvin Yellin specifically intended Plaintiffs to
rely on those false statements and Plaintiffs did, in fact, justifiably rely on those statements
166. The false statements of Messrs. Murphy and Yellin injured Plaintiffs by inducing
them to perform work for which they have not been fully and properly compensated
167. In making the false statements Messrs. Murphy and Yellin acted as the agents of
Defendants H. Chase Lenfest, High Street Capital and Prime Welhiess. Accordingly, Defendants
H. Chase Lenfest, High Street Capital and Prime Wellness are vicariously liable for those false
statements
WHEREFORE, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. punitive damages;
c. pre- and post-judgment interest; and
d. any further relief that the Court’s deems just and proper.
C_OnNm
SECURITIES FRAUD
(Against Defendants H. Chase Lenfest, Kevin Murphy, Melvin Yellin,
High Street Capital and Prime Wellness)
168. Plaintiffs incorporate by reference all preceding paragraphs
169. Membership interest in Prime Wellness, a manager-managed LLC, are securities
covered by Section 10(b) of the S'ecurities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule
10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

170. Defendants Kevin Murphy and Melvin Yellin made material factual

representations to Plaintiffs by repeatedly promising to pay them contingent compensation

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including membership interests in Prime Wellness, even though Defendants had no intention of
ever keeping those promises Thus, the fraudulent statements of l\/lessrs. Murphy and Yellin
were made in connection with the purchase or sale of securities
l7l . Defendants Kevin Murphy and Melvin Yellin specifically intended Plaintiffs to
rely on those false statements and Plaintiffs did, in fact, rely on those statements
172. The false statements of Messrs. Murphy and Yellin caused Plaintiffs to suffer
damages by inducing them to perform work for which they have not been fully and properly
compensated
173. In making the false statements Messrs. Murphy and Yellin acted as the agents of
Defendants H. Chase Lenfest, High Street Capital and Prime Wellness Accordingly, Defendants
H. Chase Lenfest, High Street Capital and Prime Wellness are vicariously liable for those false
statements
WHEREFORE, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. pre- and post-judgment interest; and
c. any further relief that the Court’s deems just and proper.
COUNT VI
CIVIL CONSPIRACY
(Against Defendants H. Chase Lenfest, Kevin Murphy, Melvin Yellin,
High Street Capital and Prime Wellness)
174. Plaintiffs incorporate by reference all preceding paragraphs
l75. Defendants H. Chase Lenfest, Kevin Murphy and Melvin Yellin agreed to induce

Plaintiffs to prepare cannabis applications for them on the false promise that they would receive

additional consideration in the event the applications resulted in the award of a cannabis license.

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176. Defendants H. Chase Lenfest, Kevin Murphy, Melvin Yellin and their agents
engaged in numerous overt acts in furtherance of the conspiracy, including repeatedly and falsely
promising Plaintiffs that they would receive the contingent consideration to which the parties had
agreed and repeatedly urging Plaintiffs to continue their work on the applications

177. The conspiracy resulted in actual legal damage -to Plaintiffs by inducing them to
to perform work for which they have not been fully and properly compensated

178. Defendants High Street Capital and Prime Wellness are vicariously liable for the
conspiracy entered into by Messrs. Lenfest, Murphy and Yellin.

WHEREFORE, Plaintiffs seek a judgment awarding them

a. compensatory damages in an amount to be proved at trial;
b. punitive damages;
c. pre- and post-judgment interest; and
d any further relief that the Court’s deems just and proper.
§®_N_Tm
UNJUST ENRICHMENT
(Against Defendants High Street Capital Partners, LLC and
HCL MM Investments PA, LLC)

179. Plaintiffs incorporate by reference all preceding paragraphs

180. Plaintiffs conferred a benefit on Defendants High Street Capital Partners, LLC
and HCL MM lnvestments PA, LLC by causing the LLC of which they are the sole members
Prime Wellness, to be awarded a cannabis license.

181. Defendants High Street Capital Partners, LLC and HCL MM Investments PA,

LLC knew appreciated the benefit because their officers and members had personal knowledge

of the work performed by Plaintiffs in connection with the license applications

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182. Defendants High Street Capital Partners, LLC and HCL MM Investments PA,
LLC have retained property, namely a 4% non-dilutable equity stake in Prime Wellness, that
properly belongs to Plaintiffs and it would be inequitable to permit them to retain that property.
WHEREFORE, Plaintiffs seek a judgment awarding them
a. compensatory damages in an amount to be proved at trial;
b. pre- and post-judgment interest; and
c. any further relief that the Court’s deems just and proper.

Jur_'y Demand

Plaintiffs request a jury trial on all issues so triable

Respectfully submitted

gain

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VER|F|CAT|ON
|, Harrls Silver, a citizen of the United States and the State of Californla,

have read the foregoing Verified Comp|aint and declare under penalty of perjury
under the laws of the United States that the foregoing facts are correct and

true to the best of my knowledge and belief.

Dated: December 14, 2017

/I ~/L-

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